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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

      v.                                             Case No. 21-cr-00258 (TFH)

 TROY SARGENT,

                              Defendant.


                                            ORDER

        In his pending Motion to Dismiss Superseding Indictment [ECF No. 37], defendant Troy

Sargent moves the Court to dismiss the superseding indictment against him, arguing that “all six

counts fail to state an offense and proceeding under the superseding indictment violates the Fifth

and Sixth Amendments of the United States Constitution and Rule 7(c)(1) of the Federal Rules

of Criminal Procedure.” Def.’s Mot. to Dismiss at 1. The government opposes the motion,

asserting that it is meritless and should be denied. Mem. in Opp’n [ECF No. 38] at 1.

       Having considered the parties’ briefing and the arguments made during the February 2,

2022 motion hearing, it is hereby ORDERED that Defendant’s Motion to Dismiss Superseding

Indictment [ECF No. 37] is DENIED. The reasons for this ruling will be explained in a

forthcoming Memorandum Opinion.

SO ORDERED.



       March 30, 2022
                                                         Thomas F. Hogan
                                                     United States District Judge
